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                                   7                                  UNITED STATES DISTRICT COURT

                                   8                                 NORTHERN DISTRICT OF CALIFORNIA

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                                         USA,
                                  10                                                        Case No. 20-cr-00249-RS-1
                                                        Plaintiff,
                                  11
                                                 v.                                         ORDER REQUESTING FURTHER
                                  12                                                        BRIEFING
Northern District of California
 United States District Court




                                         ROWLAND MARCUS ANDRADE,
                                  13
                                                        Defendant.
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                                  16          At the January 5, 2021 Status Conference for this matter, the parties indicated that a

                                  17   substantial portion of the instant motion might be resolved through the meet-and-confer process,

                                  18   rather than judicial intervention. Defendants accordingly are ordered to file a reply to the

                                  19   government’s opposition, cataloguing which (if any) of the twenty-five discovery issues initially

                                  20   raised remain subject to dispute. This reply brief shall be due January 22, 2021 by 5:00 P.M.

                                  21

                                  22   IT IS SO ORDERED.

                                  23

                                  24   Dated: January 11, 2021

                                  25                                                    ______________________________________
                                                                                        RICHARD SEEBORG
                                  26                                                    United States District Judge
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